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Jacob Yerke

From:                James Buchal <jbuchal@mbllp.com>
Sent:                Thursday, January 19, 2023 7:33 AM
To:                  Jacob Yerke
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Subject:             RE: 2:22-cv-01815-IM Oregon Firearms Federation, Inc. et al v. Brown et al ; 3:22-cv-01859-IM Fitz et
                     al v. Rosenblum et al ; 3:22-cv-01862-IM Eyre et al v. Rosenblum et al; 3:22-cv-01869-IM Azzopardi et
                     al v. Rosenblum et al



CAUTION - EXTERNAL:


Dear Mr. Yerke,

Please convey to Judge Immergut that a discovery issue has arisen that might usefully be addressed in this morning’s
conference. The State of Oregon wishes to take the deposition of a firearms dealer I represent in the Azzopardi case
tomorrow at 9:00 a.m. (or otherwise obtain discovery from it) concerning confidential business information that would
be useful to the dealer’s competitors, information involving business effects in absence of a functioning permit system.

I have proposed to the State that we stipulate to the Court’s standard Tier 2 protective order that appears on the District
of Oregon website (here). (We believe Tier 2 is appropriate because of risks associated with the zealotry of anti‐gun
advocates.) I belatedly realized that given the consolidation, I should circulate it to all counsel, and did so yesterday; the
plaintiffs do not object, but I have not heard back from the State or any intervenors. We are hoping the Court’s
schedule might allow the Court to inquire of counsel at the conference this morning and facilitate avoidance of any
further confidentiality issues through entry of an appropriate protective order; my colleague Mr. Lee will be covering the
conference this morning and will be prepared to address the issue.

Thank you for your continuing assistance in resolving this matter.

Sincerely,

James L. Buchal
Murphy & Buchal LLP
P.O. Box 86620
Portland, OR 97286
Counsel for Fitz and Azzopardi plaintiffs

Cell: 503‐314‐6597
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